Case 1:18-bk-10071         Doc 307      Filed 05/06/19 Entered 05/06/19 16:36:27              Desc Main
                                       Document      Page 1 of 1
          United States Bankruptcy Court, District of Rhode Island
                           Proceeding Memorandum / Order of Court

          David W. Wagner
 In Re:                                                     Case Number: 1:18-bk-10071 Ch: 7

 MOVANT/APPLICANT/PARTIES:
Scheduling Order (Doc. #297)
Memoranda of Law (Doc. ## 290, 303, 304, 305)


 OUTCOME:

 __ Granted    __ Denied    __ Approved      __ Sustained
 __ Moot       __ Denied without prejudice    __ Withdrawn in open court     __ Overruled
 __ OSC Enforced / Released
 __ Continued to: ________________________ For: _____________________________________
 __ Formal order / stipulation to be submitted by: ____________________ Date due: ___________
 __ Findings and conclusions dictated at the close of hearing incorporated by reference
 _______ Taken under advisement: Brief(s) due: _________________ From: __________________
                                  Response due: _________________ From: __________________
 __ Fee(s) allowed in the amount of: $ _____________________ Expenses of: $ _______________
 __ No appearance / response by: _____________________________________________________
   ✔ DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:
 _______
After review of the interested parties' memoranda of law and based on the case law cited
therein the Court concludes that an evidentiary hearing would be required to establish whether
the Debtor's objections to the claims ("Claims Objections") were filed in bad faith and/or which
parties should bear the burden of proof as to the Claims Objections. In light of the pending
adversary proceedings, the Court will defer ruling on the merits of these issues relating to the
Claims Objections, and will hold a pretrial conference on the Claims Objections, along with the
pretrial conferences in certain of the adversary proceedings, on September 10, 2019 at 10:30
a.m., as previously ordered.




                                                  IT IS SO ORDERED:

                                                                                  5/6/19
                                                                           Dated: _________

                                                  Diane Finkle, U.S. Bankruptcy Judge
